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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA :

               v.                      :       Case No. 23-mj-040

RASHID LAMONT MCFADDEN :


                      UNOPPOSED MOTION TO CONTINUE
              AND TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        Mr. Rashid McFadden, the defendant, through undersigned counsel, respectfully moves

this Honorable Court to continue the detention hearing scheduled for March 24, 2023 to March

May 12, 2023, and to exclude the time between March 24, 2023 and May 12, 2023 from the

calculations under the Speedy Trial Act, 18 U.S.C. § 3161. In support of this motion, counsel

submits:

        1. Mr. McFadden is charged by complaint with distribution of child pornography in

violation of 18 U.S.C. § 2253(a)(2).

        2. The parties are discuss a possible pretrial disposition in this matter, but need additional

time.

        3. Government counsel has no objection to this motion.

        4. The parties agree that a continuance is in the interests of justice and that the need to

continue outweighs the interests of the public and the defendant in a speedy trial.

        WHEREFORE, for the foregoing reasons, Mr. McFadden respectfully requests that the

court continue the detention hearing from March 24, 2023 to May 12, 2023, and exclude the time

between March 24, 2023 and May 12, 2023 from the calculations under the Speedy Trial Act.
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                           Respectfully submitted,

                           A. J. KRAMER
                           FEDERAL PUBLIC DEFENDER

                                  /s/
                           _____________________________
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